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 1   CHRISTOPHER P. BURKE, ESQ.                                   ECF Filed on 1/7/2022
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     (702) 385-7987
 4   Attorney for Debtor
     Melani Schulte
 5
                         UNITED STATES BANKRUPTCY COURT
 6                             DISTRICT OF NEVADA
 7
     In Re:                                   Case No. 09-29123-MKN
 8
     MELANI SCHULTE and                       Chapter 11
 9   WILLIAM SCHULTE,
                                              Jointly Administered with:
10
     2704 SATTLEY LLC,                        09-27238-MKN
11   HOT ENDEAVOR LLC,                        09-27909-MKN
     1341 MINUET LLC,                         09-27910-MKN
12   1708 PLATO PICO LLC,                     09-27911-MKN
     2228 WARM WALNUT LLC,                    09-27912-MKN
13   9425 VALLEY HILLS LLC,                   09-27913-MKN
     9500 ASPEN GLOW LLC,                     09-27914-MKN
14   5218 MISTY MORNING LLC,                  09-27916-MKN
     CHERISH LLC,                             09-28513-MKN
15   SABRECO INC.,                            09-31584-MKN
     KEEP SAFE LLC,                           09-31585-MKN
16
                                             NOTICE OF MOTION TO COMPEL
17                                           DISCOVERY OF SHELLPOINT
                                             MORTGAGE SERVICING AND THAT
18                                           DEBTORS REQUEST FOR PRODUCTION
                                             BE RESPONDED TO PROPERLY AND
19                                           FOR ATTORNEYS FEES
                  Debtors.                   Date: February 09, 2022
20                                           Time: 9:30 a.m.
21
     NOTICE IS HEREBY GIVEN that a Motion to Compel Discovery of Shellpoint Mortgage
22   Servicing and that Debtors Request for Production be Responded to Properly and for
23   Attorneys Fees, was filed herein on January 7, 2022 by Christopher P. Burke, Esq. Any
24   Opposition must be filed pursuant to Local Rule 9014 (b) (1).
     NOTICE IS FURTHER GIVEN that if you do not want the court to grant the relief
25   sought in the Motion, or if you want the court to consider your views on the Motion, then
26   you must file an opposition with the court, and serve a copy on the person making the
27   Motion no later than 14 days preceding the hearing for the motion, unless an exception

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 1   applies (see Local Rule 9014(d)(3)). The opposition must state your position, set forth all
 2   relevant facts and legal authority, and be supported by affidavits or declarations that
     conform to Local Rule 9014( c).
 3
 4
         If you object to the relief requested, you must file a W RITTEN response to this pleading with the
 5       court. You must also serve your written response on the person who sent you this notice.

 6       If you do not file a written response with the court, or if you do not serve your written response on
         the person who sent you this notice, then:
 7
         •        The court may refuse to allow you to speak at the scheduled hearing; and
 8       •        The court may rule against you without formally calling the matter at the hearing.

 9
10   NOTICE IS FURTHER GIVEN that the hearing on said Motion will be held before a
11   United States Bankruptcy Judge, in the Foley Federal Building, located at 300 Las Vegas
     Blvd. So., Third Floor Ct. Rm. #2, Las Vegas, Nevada, 89101 on the 9th day of February,
12   2022, at the hour of 9:30 a.m.
13          Should this matter be heard telephonically pursuant to Administrative Order, to
14   participate in a telephone hearing, dial the Toll-Free Call-in Number and enter the seven-
     digit Access Code followed by the “#” key.
15
                      (888) 684-8852                                                  9882536#
16
            You may be placed on hold until the courtroom deputy activates the conference call,
17   or you may hear other speaking. Another hearing may be in progress; do not announce your
18   presence until the courtroom deputy takes roll call or your hearing is called. If you have
     problems connecting or the courtroom deputy does not activate the call within 5 minutes
19
     after your scheduled hearing time, hang up and call the court at: 866-232-1266. Additional
20   information and copies of the Motion may be obtained from the Clerk of the Court.
21
             Dated:            1/7/22                               /S/CHRISTOPHER P. BURKE, ESQ.
22                                                                  CHRISTOPHER P. BURKE, ESQ.
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